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                                                Filed  11/13/20 Page 1 of 1                                            PageID #:
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AO 442(Rev. 11/11) Warrant for Arrest



                                    UNITED STATES DISTRICT COURT
                                                        District of Hawaii




UNITED STATES OF AMERICA                                             WARRANT FOR ARREST


                               V.                                   Case Number: CR 19-00099                                   |fy| JHE
                                                                                                       UNITED STATES DISTRICT COURT
DAE HAN MOON,aka "Dayday"                                                                                 DISTRICT OF HAWAII

  (Name and Address of Defendant)                                                                                NOV 1 3 2020
To: The United States Marshal and any Authorized United States Officer                                 at 4 o'clock andrP mn.P M
                                                                                                        MICHELLE RYNNE,CLERK
                                                                                                                                                A/

          YOU ARE HEREBY COMMANDED TO ARREST(05)DAE HAN MOON,aka "Davdav" and bring him or
her forthwith to the nearest district/ magistrate judge to answer a Superceding Indictment, charging him or her with (brief
description of offense)

Count 1: Racketeering Conspiracy
Count 7: Murder-for-Hire Conspiracy
                                                                                                                 c.
Count 16: Conspiracy to Distribute and Possess With Intent to Distribute Controlled Substances
                                                                                                                               Gsa


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                                                                                                                       t"'"'              r-)
 in violation of Title 18 United States Code, Section(s) 1962(d), 18:1958, 21;846
                                                                                                                                ro
                                                                                                                                ro

Date:                          June 18,2020                                       Lian Abernathy, Clerk of Court .
                                                                   Name and Title of Issuing Officer




Eocation:                      Honolulu, Hawaii                              /S/ Eian Abernathy by deputy clerk ET
                                                                     repared/Signed By:




                                              By: Kenneth J. Mansfield, United States Magistrate Judge




                                                           RETURN

 This warrant was received and executed with the arrest of the above-named defendant at



 Datp^^ei^d                                   mWlE AND TITLE OF ARRESTING OFFICER         SIGNATURE OF ARRESTING OFFICER




 Date of Arrest /
   ^/L 1 '2-^                                                      V    ■
